        Case 2:12-md-02323-AB Document 11490 Filed 09/30/21 Page 1 of 2



                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: NATIONAL FOOTBALL                           No. 12-md-2323 (AB)
 LEAGUE PLAYERS’ CONCUSSION
 INJURY LITIGATION                                  MDL No. 2323

 ________________________

 THIS DOCUMENT RELATES TO:                          NOTICE OF WITHDRAWAL
                                                    OF APPEARANCE

  Sunny Jani, Adm. (Webster), et al.
 v. National Football League et al.
 No. 2:14-cv-02064-AB



As to Plaintiffs ROBERT J. CRYDER and
LISA CRYDER, ONLY


                    NOTICE OF WITHDRAWAL OF APPEARANCE


TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

       Jason E. Luckasevic of Goldberg, Persky & White, P.C., Elissa D. Miller, solely in her

capacity as Bankruptcy Trustee for Girardi Keese, and Herman J. Russomanno and Robert J.

Borello of Russomanno & Borello, P.A. hereby withdraw their appearance as attorneys of record

for Plaintiffs ROBERT J. CRYDER and LISA CRYDER only in the above-referenced case.


Dated: September 30, 2021                 Respectfully submitted,

                                          GOLDBERG, PERSKY & WHITE, P.C.

                                          By: s/ Jason E. Luckasevic
                                          Jason E. Luckasevic, Esquire
                                          (PA Bar No. 85557)
                                          11 Stanwix Street, Suite 1800
                                          Pittsburgh, PA 15222
                                          Telephone: (412) 471-3980
                                          jluckasevic@gpwlaw.com
                                          Counsel for Plaintiffs
         Case 2:12-md-02323-AB Document 11490 Filed 09/30/21 Page 2 of 2




                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 30, 2021 the foregoing Notice of Withdrawal of

Appearance was electronically filed. Notification of this filing will be sent to all parties via the

Court’s CM/ECF system.




                                             GOLDBERG, PERSKY & WHITE, P.C.

                                             By: s/ Jason E. Luckasevic
